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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

      DEEPIKNA GONA,

             Plaintiff,

      v.                                                        Case No. 1:20-cv-3680-RCL

      UNITED ST A TES CITIZENSHIP AND
      IMMIGRATION SERVICES,

               Defendant.


                                       MEMORANDUM ORDER

             Before the Court are defendant United States Citizenship and Immigration Services'

     (USCIS) motion [15] to stay proceedings or to extend the LCvR 7(n)(l) deadline and the parties'

     Rule 16(b) report [ 17]. The Court addresses these items in turn.

I.         STAY OF PROCEEDINGS

             The agency asks the Court to stay proceedings for sixty days to allow it time to complete

     adjudication of plaintiff Deepikna Gona's applications.

             The Court has "has broad discretion to stay proceedings as an incident to its power to

     control its own docket." Clinton v. Jones, 520 U.S. 681, 706 (1997). In exercising that discretion,

 the Court must "weigh competing interests and maintain an even balance between the court's

 interests in judicial economy and any possible hardship to the parties." Belize Soc. Dev. Ltd. v.

 Gov 't of Belize, w, 733 (D.C. Cir. 2012) (quotation marks and citations omitted) (quoting Landis

 v. N Am. Co., 299 U.S. 248, 254-55 (1936)). The movant bears the burden of establishing its

 need for a stay. Clinton, 520 U.S. at 708. If a stay may harm another party, the movant "must

 make out a clear case of hardship or inequity in being required to go forward." Landis v. N Am.

 Co., 299 U.S. 248, 255 (1936).
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              The Court has no doubt that Ms. Gona suffers harm each day she waits-without the ability

      to work-for the agency to process her applications. Accordingly, the agency must demonstrate

      clearly that it would suffer hardship or inequity absent a stay. This it cannot do. The agency's

      case for a stay is rooted entirely in efficiency concerns; however, engaging in potentially

      unnecessary litigation for a few weeks does not pose nearly the same hardship as an inability to

      lawfully work for the same per.iod of time. Thus, the agency is not entitled to a stay.

II.       EXTENSION OF DEADLINES

             In the alternative, the agency seeks a three-week extension of its deadline to file an index

      of the administrative record, as required by LCvR 7(n)( 1).

             As the agency sought the extension before the deadline lapsed, it must demonstrate good

      cause to be accorded additional time. Fed. R. Civ. P. 6(b)(l)(A). The agency says it "will need

      additional time to produce a certified list of the administrative record documents pertaining to the

      agency actions and inactions that are raised in the Complaint," Def. 's Mem. 4, ECF No. 15-1, but

      does not explain why it needs ~dditional time.   A conclusory statement of unavoidable delay does
      not constitute good cause to extend a deadline. The agency also says that "because Plaintiff's

  counsel has filed cases raising essentially identical claims in other judicial districts, the contents

  of the administrative records must be coordinated among attorneys and agency officials

  responsible for handling the other cases, as well." Id. The Court struggles to see why parallel

  suits should slow the process of producing the administrative record. The record supporting an

  agency regulation is static.      Indeed, if anything, the existence of parallel litigation in a more

  advanced posture should lessen the work the agency must complete in this case. Nevertheless,

  because Ms. Gona has not expressly opposed this extension and because an extension is unlikely

  to prejudice Ms. Gona or hinder the fair administration of justice, the Court will allow the agency




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       the extension it seeks. See Day v. D.C. Dep't of Consumer & Regul. Ajfs., 191 F. Supp. 2d 154,

       160 (D.D.C. 2002).

III.       DISCOVERY

              Jn their Rule 16(b) report, the parties disagree about whether discovery is appropriate in

       this case. The Court need not parse all of their arguments because the resolution of this dispute is

       quite simple.

          Ms. Gona is entitled to conduct discovery on her unreasonable delay claim because resolving

       that claim requires careful analysis of her specific factual circumstances.          See Mashpee

       Wampanoag Tribal Council, Inc. v. Norton, 336 F.3d 1094, 1100 (D.C. Cir. 2003). Indeed, the

       Court cannot decide this claim based solely on the administrative record because agency inaction

   generally does not produce a record at all. See Nat 'l L. Ctr. on Homelessness & Poverty v. Dep 't

   of Veterans Affs., 842 F. Supp. 2d 127, 130 (D.D.C. 2012); see ·also, e.g., Mot. for Relief from

   LCvR 7(n) at 2, Addala v. Cuccinelli, No. 20-cv-2460-RCL, ECF No. 8 (acknowledging that

   USCIS does not have administrative record prior to visa adjudication). More importantly, an

   isolated administrative record would not allow the Court to determine whether the agency adheres

   to a rule ofreason in adjudicatiµg visa applications. Discovery is necessary to resolve Ms. Gona's

   inaction claim.

              Ms. Gona is not entitled to conduct discovery, as it appears both parties agree, to support

   her APA challenge to the agency regulation. In a challenge to final agency action, judicial review

   is ordinarily limited to the administrative record in existence at the time of the agency's decision.

   Aguayo v. Harvey, 476 F.3d 971,976 (D.C.Cir.2007) (citing Florida Power & Light Co. v. Lorion,

   470 U.S. 729, 743(1985)).




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IV.      CONCLUSION

             For the reasons stated above, the motion is GRANTED IN PART insofar as it seeks an

      extension of the LCvR 7(n)(l) deadline and DENIED IN PART insofar as it seeks a stay of

      proceedings. The agency's deadline to produce an index of the administrative record is extended,

      nunc pro tune, to April 5, 2021.

             Additionally, the parties shall adhere to the following deadlines:

                 •   Discovery deadtine                                                  May 10, 2021

                 •   Plaintiffs motion for summary judgment due                          May 17, 2021

                 •   Defendant's combined cross-motion for summary judgment/             May 31, 2021
                     opposition due

                 •   Plaintiffs combined response/reply due                              June 7, 2021

                 •   Defendant's reply due                                               June 14, 2021

                 •   Joint appendix of administrative record due                         June 28, 2021

             IT IS SO ORDERED.



      Date: - - --    I
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                     - -- -                                              Royce C. Lamberth
                                                                         United States District Judge




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